    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 1 of 24



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


JULIE NORTHRUP; and RICKARD
SCRUGGS,

                Plaintiffs,                                   CIVIL ACTION NO.: 2:17-cv-126

        v.

PAUL GEORGE, individually and in his
official capacities,

                Defendants.


                                              ORDER

        Presently before the Court are the parties’ cross motions for summary judgment:

Plaintiffs’ Motion for Summary Judgment and Request for Oral Argument, (doc. 26), and

Defendant Paul George’s Motion for Summary Judgment, (doc. 37). 1 This 42 U.S.C. § 1983

case arises out of a traffic stop instigated by Defendant George. The parties dispute whether

Defendant had reasonable suspicion for the initial traffic stop, whether he prolonged the traffic

stop in violation of the Fourth Amendment, and whether he is entitled to qualified immunity. 2

While the Court finds that Defendant did prolong the stop, genuine issues of material fact remain

1
    At the time both summary judgment motions were filed, Defendant George had multiple co-
Defendants. However, Plaintiffs moved for summary judgment only as to the liability of Defendant
George. (Doc. 26.) The cross-motion for summary judgment was filed by all of the then-named
Defendants (including Defendant George). (Doc. 37.) Since then, all Defendants except for Defendant
George have been dismissed from the case. (Doc. 52.) As a result, the Court refers to the cross-motion
simply as Defendant George’s Motion. Additionally, while Defendant filed a Motion for Summary
Judgment, (doc. 37), and a separate Response to Plaintiffs’ Motion for Summary Judgment, (doc. 41),
those two documents are identical; to avoid confusion and for consistency’s sake, the Court will only cite
to Defendant’s Motion, (doc. 37), and will not cite to the identical Response.

2
  Both Plaintiffs and Defendant move for summary judgment in their favor on the first two issues.
Defendant George is the sole movant on the qualified immunity issue.
     Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 2 of 24



as to whether he was justified in doing so and whether he had a proper basis for initiating the

stop in the first place. These issues must be resolved by a jury. Additionally, the Court finds

that Defendant George is not entitled to qualified immunity. Accordingly, the Court DENIES

Plaintiffs’ Motion for Summary Judgment and Request for Oral Argument, 3 (doc. 26), and

DENIES Defendant’s Motion for Summary Judgment, (doc. 37).

                                          BACKGROUND

I.       Procedural History

         Plaintiffs filed this suit in October 2017, (doc. 1), and subsequently filed an Amended

Complaint, (doc. 17), alleging violation of their Fourth Amendment rights pursuant to 42 U.S.C.

§ 1983. (Id.) Specifically, they allege that Defendant committed “unlawful acts of detention,

search and seizure.” (Id. at p. 8.) Plaintiffs assert claims against Defendant George in both his

individual and official capacities, and they seek compensatory and punitive damages. (Id. at pp.

2, 9.) Plaintiffs filed a Motion for Summary Judgment as to Defendant George’s liability on

June 6, 2018, (docs. 26, 26-1), and Defendant filed his own Motion for Summary Judgment on

July 2, 2018, (doc. 37, 37-1).

II.      Factual Background

         The events giving rise to this action took place on January 18, 2017, when Defendant

Paul George, a narcotics investigator in Glynn County, Georgia, pulled over Plaintiff Rickard

Scruggs (at times, “Mr. Scruggs”) and Plaintiff Julie Northrup (at times, “Ms. Northrup”) for an

alleged license plate violation. (Doc. 17, pp. 2–3.) The entire 36-minute traffic stop was

captured by Defendant’s Body Camera Recording (“BCR”), which has been reviewed by the

3
  Pursuant to Local Rule 7.2, Plaintiffs requested oral argument on their Motion to Dismiss. (Doc. 26.)
Defendant did not respond to Plaintiffs’ request. The Court, having read and considered the parties’
Motions and all of the related filings and briefs, found sufficient bases to issue an Order without oral
argument and, therefore, DENIES Plaintiffs’ request.



                                                   2
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 3 of 24



Court. (Doc. 28-1 (BCR).) However, this traffic stop was not Defendant’s first interaction with

Mr. Scruggs. (Doc. 27, p. 7.) In 2015, Defendant executed a search warrant at Mr. Scruggs’

residence. (Id.) The relevant details from both events will be discussed in turn.

       A.      History Between Plaintiff Scruggs and Defendant George

       In 2015, Defendant George executed a search warrant at 330 Broadway Street in Saint

Simons Island, Georgia. (Doc. 37-2, p. 1.) Mr. Scruggs and a woman named Kimberly Brown

were inside the residence at the time of the search and Mr. Scruggs identified himself as the

“primary lessee.” (Id. at p. 2.) Drugs and firearms were discovered in the house and Mr.

Scruggs was arrested.     (Id.; doc. 27, p. 7.)       Mr. Scruggs was subsequently charged with

possession of a firearm by a convicted felon and possession of controlled substances. (Id.)

However, both charges against Mr. Scruggs were ultimately dismissed. (Doc. 37-1, p. 4.) Ms.

Brown, who is not a party to this action, pleaded guilty to the drug charges. (Id.)

       B.      The 2017 Traffic Stop

               1.      Undisputed Facts

       Around 1:45 p.m. on January 18, 2017, Defendant George called dispatch and inquired

about tag number “PHU1437.” (Id. at p. 5.) The dispatcher informed Defendant that the tag

belonged to a “2004 Toyota Corolla, silver color.” (Doc. 53-1, p. 2.) At some point after

receiving this information, Defendant initiated a traffic stop of a 2013 Chevrolet Avalanche with

the tag number “PHU1387.” (Doc. 28-1 (BCR).)

       The video recording of the traffic stop began when Defendant turned on his body camera

around 2:18 p.m. (Id.) Prior to approaching the Avalanche, Defendant called in the Avalanche’s

tag number—“PHU1387”—but exited his vehicle before receiving any information on the

matter. (Id. at 14:19:01.) Defendant approached the vehicle on the driver’s side, finding Mr.




                                                  3
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 4 of 24



Scruggs in the driver’s seat and Ms. Northrup in the front seat as a passenger. After identifying

himself and greeting Mr. Scruggs by his name, Defendant explained that he stopped the car

because the tag did not “come back” to the Avalanche.                    (Id. at 14:19:35–14:20:02.) Ms.

Northrup stated that the vehicle belonged to her husband and, upon Defendant’s request,

Plaintiffs provided Defendant with their driver’s licenses.               (Id.)   Mr. Scruggs presented a

Tennessee license. (Id.) Next, Defendant asked Plaintiffs if they had anything illegal in the car,

“such as guns, drugs, or alcohol,” and Plaintiffs answered that they did not. (Id. at 14:20:48.)

Defendant then asked Plaintiffs whether they consented to a search of the vehicle. Both Mr.

Scruggs and Ms. Northrup denied consent. (Id. at 14:20:53.) Defendant next asked Plaintiffs to

exit the Avalanche, at which point Defendant returned to his unmarked police car. 4 (Id. at

14:21:45.)

          Once he was back in his vehicle, Defendant immediately called for a K-9 unit and

requested that other police officers meet him at the scene with the proper citation book (for the

tag violation). (Id. at 14:21:58–14:23:50.) Approximately four minutes after returning to his car

and seven minutes into the stop, Defendant called in the Avalanche’s tag information once more

and determined that the Avalanche was properly tagged. (Id. at 14:25:40–14:26:21.) Defendant

then attempted to confirm Plaintiffs’ driver’s licenses. The service quickly confirmed Ms.

Northrup’s license, but was unable to locate information regarding Mr. Scruggs’ Tennessee

license. (Id. at 14:26:32–14:29.)

          Officer Anthony Clark arrived at the scene around 2:30 p.m.—about twelve minutes after

Plaintiffs were stopped—and approached Defendant’s vehicle.                        (Id. at 14:30–14:31:30.)

Defendant George explained that he had “done a search warrant at [Mr. Scruggs’] house a while


4
    Plaintiffs remained out of the Avalanche until the end of the traffic stop, at 2:54 p.m. (Doc. 26-1, p. 27.)



                                                        4
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 5 of 24



ago” and further admitted that, in this instance, he must have originally called in the wrong tag

because the Avalanche was adorned with the correct plate. (Id.) After informing Officer Clark

that Mr. Scruggs had “denied consent,” Defendant stated that Mr. Scruggs “should be on

probation,” and that he wanted to confirm Mr. Scruggs’ probationary status as to conduct a

“Fourth Amendment search on him.” (Id.) Finally, Defendant explained that he was going to

write Mr. Scruggs a citation for not having a Georgia driver’s license and hoped that the K-9 unit

would arrive by the time the citation was issued. (Id.) Defendant then exited his vehicle and

approached Officer Clark’s police car. (Id. at 14:31:41.) For the next five minutes, Defendant

continued his attempts to determine whether Mr. Scruggs was on probation, eventually learning

that he was not. (Id. at 14:32:00–14:37:35.) Defendant also said that the criminal charges

against Mr. Scruggs had been dismissed and his wife, Kimberly Brown, “had been the main

target anyway.” (Id.)

       At 2:38 p.m.—roughly twenty minutes into the traffic stop—Defendant returned to his

vehicle with Officer Clark’s citation book and began writing a citation for Mr. Scruggs’ alleged

license violation. (Id. at 14:37:44.) For the next three minutes, Defendant filled out portions of

the citation form. (Id. at 14:38–14:41.) At 2:41 p.m., Defendant paused his endeavor to look at

his phone and resumed the paperwork one minute later.           (Id. at 14:41–14:43:23.)    Soon

thereafter, Officer Clark approached Defendant’s vehicle. (Id.) Defendant again stopped writing

and summarized his history with Mr. Scruggs, noting that he did not know Mr. Scruggs was in

the Avalanche when he initiated the stop. (Id. at 14:43:45–14:43:59.) For the next thirty-seven

seconds, Defendant intently filled out the citation form. (Id. at 14:44:01–14:44:38.) Defendant

then did not write any additional information for sixty seconds while he and Officer Clark

seemingly discussed equipment in Defendant’s car. (Id. at 14:44:38–14:45:38.)




                                                5
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 6 of 24



        Defendant spent the next four or so minutes attempting to discern where he first saw

Plaintiffs’ vehicle. (Id. at 14:45:38–14:49:19.) At approximately 2:45:51 on the BCR—twenty-

seven minutes into the traffic stop—Defendant said, “I’m trying to think where I saw them first,”

and searched a map on his phone for about three minutes. When he resumed writing the citation,

Defendant said “[Mr. Scruggs] ran every stop sign on the way to get here, actually.” 5 (Id. at

14:49:11.)      At 2:50 p.m.—thirty-two minutes after Defendant stopped Plaintiffs’ vehicle—

Officer Lowther arrived with the K-9. (Id. at 14:50:40; doc. 27, p. 6; doc. 38, p. 3.) After

walking around the Avalanche, the K-9 “did not alert to the presence of illegal substances that

he’s trained to detect.” (Doc. 37-2, p. 6.) Defendant continued to intermittently fill out the

citation form—pausing several times to converse with other officers—and eventually exited his

vehicle with the completed ticket. (Doc. 28-1, at 14:50:40–14:52:35.) On the BCR footage,

Officer Lowther and the K-9 can be seen standing next to Defendant’s car door as Defendant left

his car. (Id. at 14:52:37.)

        At 2:53 p.m., thirty-five minutes into the stop, Defendant walked over to Plaintiffs and

handed Mr. Scruggs the completed citation form. (Id. at 14:53.) Defendant explained that Mr.

Scruggs was in violation of Georgia law for not having obtained a Georgia license within thirty

days of residing in Georgia. (Id. at 14:53:10.) Mr. Scruggs stated that he was a Tennessee

resident but “comes down [to Georgia] all the time.” (Id. at 14:53:14–23.) Defendant then

asked, “What was your address on Broadway?” (Id. at 14:53:26.) Mr. Scruggs replied, “330

Broadway,” and Defendant added the Broadway address to the citation. (Id.; see doc. 37-9.)

Defendant handed Mr. Scruggs the citation and told Plaintiffs they were free to go. (Doc. 28-1,

at 14:54:30.)

5
 Defendant did not write Mr. Scruggs a citation for a stop sign violation much less even mention this to
Mr. Scruggs at any point during the stop.



                                                   6
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 7 of 24



       2.      Facts Disputed by the Parties

       While the parties do not dispute the events captured in the video, they do dispute what

transpired prior to Defendant’s initiation of the traffic stop. Specifically, the parties contest

where and when Defendant first saw the Avalanche. Defendant George claims to have first

observed the Avalanche approximately forty-five minutes prior to the stop.            According to

Defendant, he had received a tip from a confidential informant that Kimberly Brown offered to

sell the informant drugs. (Doc. 37-1, p. 4.) In light of the tip and his “previous discovery of

drugs at the 330 Broadway house,” Defendant claims that he suspected that “drugs were again

being distributed from that house” and that he arrived “in the vicinity of the Broadway Street

residence at approximately 1:30 p[.]m.” (Id.) Defendant avers that, upon his arrival, he saw “a

silver Chevrolet Avalanche truck parked in the driveway” of 330 Broadway Street, and

subsequently “ran the tag.”      (Id. at pp. 4–5.)     As discussed above, Defendant called in

“PHU1437,” not “PHU1387,” the Avalanche’s correct tag number. Defendant claims he must

have misread the tag because he was “in surveillance mode.” (Id. at p. 5.) That is, Defendant

did not want to draw “unnecessary attention to himself,” and therefore called in the tag after

driving past the residence and parking further down the street. (Id.) According to Defendant, he

saw the Avalanche leave 330 Broadway Street “a short while later,” and his decision to follow

the vehicle was “based on the mistaken belief that the Avalanche had an improper tag.” (Id. at

pp. 5–6.) Defendant claims that he then followed Plaintiffs at a “covert distance” to conceal his

identity. (Id.) While following Plaintiffs, Defendant felt that the Plaintiffs were driving “in an

evasive manner, not as far as speed but just as far turning multiple corners to see if the same

vehicle follows you in that same maneuver.” (Id. at p. 6 (citing George Depo. at p. 57).)

Defendant initiated the traffic stop after Plaintiffs turned onto Frederica Road. (Id.)




                                                  7
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 8 of 24



       While Plaintiffs do not dispute their presence at 330 Broadway Street on January 18,

2017, (see doc. 28-12), they do dispute Defendant’s presence as well as his account of the events

leading up to the traffic stop on that day. Plaintiffs argue that Defendant did not have an

informant and was never at 330 Broadway Street on the day of the traffic stop. (Doc. 45-1, p. 2.)

In support, Plaintiffs point to the recording of the traffic stop, which contains actions and

statements by Defendant that directly contradict his current explanation of the events. (Id.)

Plaintiffs emphasize that, in the recording, Defendant spent four minutes attempting to discern

where he first saw Plaintiffs’ vehicle, ultimately stating that he originally saw the vehicle on

McIntosh Avenue.      (Doc. 26-1, p. 22.) He made no mention of 330 Broadway Street or

surveillance in the video. (Doc. 45, p. 2.) Plaintiffs further note that the first time Defendant

mentioned his purported surveillance at 330 Broadway Street was in his deposition, which took

place approximately fourteen months after the traffic stop. (Id.)

       Defendant’s proffered explanation for these contradictions is that he intentionally chose

not to mention that he was surveilling 330 Broadway Street during the traffic stop because he

knew the “body-camera recording could eventually become subject to inspection and copying.”

(Doc. 53, p. 4.) Thus, he did not want the occupants of 330 Broadway Street to “become aware

of his surveillance or the informant” through a later release of the footage. (Id.)

                                   STANDARD OF REVIEW

       Summary judgment “shall” be granted if “the movant shows that there is no genuine

dispute as to any material fact and that the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A fact is “material” if it “might affect the outcome of the suit under the

governing law.” FindWhat Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1307 (11th Cir. 2011)




                                                  8
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 9 of 24



(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A dispute is “genuine” if

the “evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id.

       The moving party bears the burden of establishing that there is no genuine dispute as to

any material fact. See Williamson Oil Co. v. Philip Morris USA, 346 F.3d 1287, 1298 (11th Cir.

2003). Specifically, the moving party must identify the portions of the record which establish

that there are no “genuine dispute[s] as to any material fact and the movant is entitled to

judgment as a matter of law.” Moton v. Cowart, 631 F.3d 1337, 1341 (11th Cir. 2011). When

the nonmoving party would have the burden of proof at trial, the moving party may discharge his

burden by showing that the record lacks evidence to support the nonmoving party’s case or that

the nonmoving party would be unable to prove his case at trial. See id. (citing Celotex Corp. v.

Catrett, 477 U.S. 317, 322–23 (1986)). If the moving party discharges this burden, the burden

shifts to the nonmovant to go beyond the pleadings and present affirmative evidence to show that

a genuine issue of fact does exist. Anderson, 477 U.S. at 257.

       In determining whether a summary judgment motion should be granted, a court must

view the record and all reasonable inferences that can be drawn from the record in the light most

favorable to the nonmoving party. Peek-A-Boo Lounge of Bradenton, Inc. v. Manatee County,

630 F.3d 1346, 1353 (11th Cir. 2011) (citing Rodriguez v. Sec’y for Dep’t of Corr., 508 F.3d

611, 616 (11th Cir. 2007)). However, “facts must be viewed in the light most favorable to the

non-moving party only if there is a ‘genuine’ dispute as to those facts.” Scott v. Harris, 550 U.S.

372, 380 (2007). “[T]he mere existence of some alleged factual dispute between the parties will

not defeat an otherwise properly supported motion for summary judgment; the requirement is

that there be no genuine issue of material fact.” Id. (emphasis and citations omitted).




                                                 9
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 10 of 24



       The standard of review for cross-motions for summary judgment does not differ from the

standard applied when only one party files a motion. Am. Bankers Ins. Grp. v. United States,

408 F.3d 1328, 1331 (11th Cir. 2005). “Cross-motions for summary judgment will not, in

themselves, warrant the court in granting summary judgment unless one of the parties is entitled

to judgment as a matter of law on facts that are not genuinely disputed.” United States v.

Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984).

                                         DISCUSSION

I.     The Parties’ Arguments

       Plaintiffs filed this case pursuant to 42 U.S.C. § 1983, alleging that the January 18, 2017,

traffic stop violated their Fourth Amendment rights to be free from unlawful searches and

seizures and that this violation was caused by Defendant’s actions. (Doc. 17, p. 8.) As explained

in their Motion for Summary Judgment, Plaintiffs first argue that Defendant lacked “an

objectively reasonable ground to believe that the tag did not come back to the Avalanche”

because he did not take any measures to determine whether his reading of the tag was correct

despite having personal doubts about the accuracy of his memory. (Doc. 26-1, p. 7.) Plaintiffs

further allege that Defendant unlawfully prolonged the traffic stop by detouring from his “traffic

control mission” on several occasions to conduct unrelated inquiries and converse with other

officers. (Id. at pp. 22–28.) Plaintiffs finally argue they are entitled to summary judgment

because the circumstances surrounding the stop did not give Defendant independent reasonable

suspicion to initiate the stop or wait for the K-9. (Id. at p. 11.) Plaintiffs point out that: (1)

Defendant’s testimony about conducting surveillance at 330 Broadway Street contradicts his

behavior as displayed in the BCR where he spent over four minutes looking at a map attempting

to locate where he first saw the Avalanche; (2) Defendant’s lack of familiarity with the




                                                10
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 11 of 24



surrounding streets in the BCR undermines his testimony regarding his belief that Plaintiffs were

driving evasively by taking more turns than necessary while he followed them from a “covert

distance”; and (3) even if Defendant did have an informant, neither Mr. Scruggs nor Ms.

Northrup were the subject of the confidential tip. (Id. at pp. 11–22.)

       Defendant also argues he is entitled to summary judgment for several reasons. Defendant

first avers that, because he attempted to verify the tag number while conducting surveillance, his

mistake of fact regarding the Avalanche’s tag was objectively reasonable as he “did not wish to

draw attention to himself,” and that this mistake gave him a reasonable basis to initiate the stop.

(Doc. 37-1, p. 15.) Defendant additionally argues that he is entitled to judgment in his favor

because the stop was reasonable in length and not unlawfully prolonged by the K-9 sniff. (Id. at

pp. 19–20.) After seeing Mr. Scruggs’ Tennessee license, Defendant suspected Mr. Scruggs was

violating O.C.G.A. § 40-5-20(a)—which requires that persons residing in the state for more than

30 days obtain a Georgia driver’s license—based on the pair’s previous interactions. (Id.)

Defendant then wrote Mr. Scruggs a citation for the suspected violation, and because the K-9

sniff occurred prior to the citation’s completion, Defendant maintains that the stop was not

prolonged. (Id. at p. 23.) Finally, even if the tag mistake was not reasonable or the stop was

unlawfully prolonged, Defendant contends that other factors created “sufficient reasonable

suspicion to justify a traffic stop” and to await the K-9 unit. (Id. at pp. 16, 24.) Specifically,

Defendant relies on: (1) the previous arrest and drug activities at 330 Broadway Street; (2) the

confidential informant’s tip; (3) the presence of the vehicle at 330 Broadway Street; and (4) his

contention that Plaintiffs took an evasive route while he followed them. (Id. at pp. 18–19.)

       Thus, resolution of Plaintiffs’ Fourth Amendment claims and the parties’ Motions

requires the determination of whether Defendant’s actions prior to and during the traffic stop




                                                11
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 12 of 24



were reasonable, as well as whether Defendant had reasonable suspicion of illegal activity that

justified any prolongation of the stop to allow for additional investigation such as the K-9 sniff.

II.    Legal Authority

       The Fourth Amendment guarantees “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const.

amend. IV. A traffic stop is a seizure within the meaning of the Fourth Amendment and is

justified when the police have reasonable suspicion that a traffic violation has occurred. United

States v. Campbell, 912 F.3d 1340, 1349 n.9 (11th Cir. 2019) (“While probable cause is

sufficient, only reasonable suspicion is necessary.”)      To determine whether an officer had

adequate reasonable suspicion, the Court must examine the officer’s actions and determine

whether they were reasonable. United States v. Chanthasouxat, 342 F.3d 1271, 1275 (11th Cir.

2003); see also United States v. Knights, 534 U.S. 112, 118 (2001) (“The touchstone of the

Fourth Amendment is reasonableness . . . .”).

       Additionally, the actions taken by an officer during a traffic stop “must be reasonably

related in scope to the circumstances which justified the interference in the first place.”

Rodriguez v. United States, 575 U.S. ___, ___, 135 S. Ct. 1609, 1621 (2015) (citations omitted).

The traffic stop itself may “‘last no longer than is necessary’ to complete its mission.”

Campbell, 912 F.3d at 1350 (quoting Rodriguez, 135 S. Ct. at 1614). “A stop is unlawfully

prolonged when an officer, without reasonable suspicion, diverts from the stop’s purpose and

adds time to the stop in order to investigate other crimes.” Campbell, 912 F.3d at 1353.

III.   Analysis

       The Court acknowledges at the outset of its summary judgment analysis that this case is

replete with factual disputes. As detailed above, Plaintiffs and Defendant urge the Court to adopt




                                                 12
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 13 of 24



entirely different versions of what happened prior to the traffic stop and there is evidence to

support both versions.     Defendant testified during his deposition that he was conducting

surveillance at 330 Broadway Street and he later submitted an affidavit in support of this

testimony. (Doc. 37-3, p. 2.) However, in the BCR, Defendant clearly states that he did not

remember where he first saw Plaintiffs’ vehicle and visibly searches a map on his phone for

several minutes. (Doc. 28-1, at 14:45:51–14:49:13 (BCR).) Defendant eventually identifies

McIntosh as the proper location and does not mention his purported presence at 330 Broadway

Street at any point during the recording. (Id. at 14:48:57.) While Defendant acknowledges the

inconsistency between what is depicted in the video and what he testified to later, he claims that

his actions on the video were both purposeful and precautionary; he did not want the occupants

of 330 Broadway Street to “become aware of his surveillance or the informant” and he knew the

“body-camera recording would eventually become subject to inspection and copying.” (Doc. 53,

p. 4.) Plaintiffs understandably take issue with Defendant’s story and point out that Defendant

did not mention 330 Broadway Street or the alleged informant until fourteen months after the

traffic stop and they therefore urge the Court to disregard Defendant’s subsequent explanations.

(Doc. 45, p. 2.)

       Disputes of fact only interfere with the Court’s ability to issue summary judgment

(particularly where, as here, there are cross-motions) if the disputes are genuine and if the facts

they concern are truly material.   Fed. R. Civ. P. 56(a). The dispute here is genuine; that is, a

reasonable jury could choose to believe either of Defendant’s versions of the events leading up to

the traffic stop—the version evinced by his statements on the BCR or the version he testified to




                                                13
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 14 of 24



in his deposition and explained in his affidavit. 6 See Georgia State Conf. of NAACP v. Fayette

County Bd. of Comm'rs, 775 F.3d 1336, 1346–48 (11th Cir. 2015) (explaining court may not

make credibility findings in reviewing cross-motions for summary judgment). The issue that

must be addressed by the Court in greater detail, however, is whether these genuine disputes

“might affect the outcome of the suit under the governing law” and are therefore material.

FindWhat Inv’r Grp., 658 F.3d at 1307. A genuine dispute over even the most seemingly

important fact is not necessarily material. For instance, “[i]f a party fails to establish a genuine

dispute as to any essential element of his case on which he has the burden of proof, summary

judgment is appropriate even if there are disputes as to other facts, because the failure of proof

on the essential element renders all other facts immaterial.” McKeithen v. Jackson, 606 Fed.

Appx. 937, 938 (11th Cir. 2015).

        As set forth in greater detail below, the Court finds that the genuine disputes regarding

the events that occurred prior to the stop are material to the determination of whether the initial

stop was reasonable and whether Defendant had reasonable suspicion to prolong the stop (to

investigate suspected criminal activity unrelated to the basis for the stop). As a result, neither

Plaintiffs nor Defendant are entitled to summary judgment in their favor on either claim.

        A.       Whether Defendant had an Objectively Reasonable Basis to Initiate the
                 Traffic Stop

        The parties dispute whether Defendant had a reasonable basis to initiate the traffic stop.

An officer’s reasonable mistake of fact may provide the objective grounds for reasonable

suspicion or the probable cause required to justify a traffic stop. Chanthasouxat, 342 F.3d at



6
  See McCormick v. Ft. Lauderdale, 333 F.3d 1234, 1240 n.7 (11th Cir. 2003) (“Issues of credibility and the weight
afforded to certain evidence are determinations appropriately made by a finder of fact and not a court deciding
summary judgment.”);



                                                       14
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 15 of 24



1276. Thus, if an officer makes a traffic stop based on a mistake of fact, the only question is

whether his mistake of fact was reasonable. Id.

       Here, it is undisputed that Defendant called in the tag number “PHU1437” at 1:45 p.m.

and that the tag came back to a Toyota Corolla. (Doc. 53-1, p. 2.) It is similarly undisputed that

the Avalanche’s tag number was “PHU1387.” (Id.) According to Defendant, this call was made

after he observed the Avalanche parked at 330 Broadway Street, looked at the license plate as he

drove past the house, and parked further down the street. (Doc. 37-1, p. 5.) Defendant maintains

that his mistake of fact—the misreading of the Avalanche’s tag number—was caused by his

being in “surveillance mode,” which prevented him from getting a clear visual of the correct tag

number. (Id. at p. 4–5.) Defendant therefore argues that his mistake about the Avalanche’s

license plate number provided an objectively reasonable basis to suspect that a tag violation had

occurred. (Id.)

       Plaintiffs, on the other hand, emphasize different portions of the record. Relying on

Defendant’s statements captured by the BCR—questioning where he first saw the Avalanche and

eventually identifying McIntosh as the correct location—Plaintiffs contend that Defendant was

not actually conducting surveillance prior to the traffic stop. They urge that these statements do

not support Defendant’s contention that he made a mistake regarding the Avalanche’s tag.

Rather, Plaintiffs argue the evidence supports their theory “that, at 1:45 p[.]m[.], [Defendant]

correctly called in the tag on a Toyota Corolla in which he had taken an interest,” and, thirty

minutes later, “saw Scruggs, whom he knew from his earlier warrant and arrest actions, driving

the Avalanche at McIntosh Avenue,” and decided to stop his vehicle under the guise of a tag

issue. (Doc. 58, p. 10.)




                                                  15
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 16 of 24



        If Plaintiffs’ version of the facts is accepted as true, Defendant’s alleged mistake would

be unreasonable as it would not have been a mistake at all. Under their theory, Defendant did

not attempt to verify the Avalanche’s plates prior to initiating the stop, meaning he stopped the

Avalanche without any suspicions or concerns about its tag number. (Id.) On the other hand, if

Defendant’s testimony that he was conducting surveillance is accepted as true, it is reasonable to

believe that he did attempt to call in the Avalanche’s tag but was unable to clearly see the plate

until the traffic stop was initiated. Because both parties have moved for summary judgment on

this issue and a jury could accept either version of the facts, the Court cannot declare, as a matter

of law, whether the stop was the result of an objectively reasonable mistake of fact or whether it

instead was initiated without the necessary probable cause. A jury must first determine whether

Defendant stopped the Avalanche because he knew it belonged to Mr. Scruggs—an individual

whom Defendant knew had previously been arrested in connection with a drug investigation—or

if Defendant was simply mistaken. As explained above, “[i]ssues of credibility and the weight

afforded to certain evidence are determinations appropriately made by a finder of fact and not a

court deciding summary judgment.” McCormick, 333 F.3d at 1240 n.7. Accordingly, summary

judgment for either party is not proper on the issue of whether it was reasonable for Defendant to

stop Plaintiffs’ vehicle.

        B.      Whether Defendant Prolonged the Stop Without Reasonable Suspicion

        The parties each claim that, regardless of whether the initial stop was justified, they are

entitled to judgment in their favor on the issue of whether, after he stopped Plaintiffs, Defendant

prolonged the stop in order to investigate other criminal activity (not related to the traffic

infraction) without reasonable suspicion for doing so. While “[a] seizure for a traffic violation

justifies a police investigation of that violation,” such a seizure is generally expected to be a




                                                 16
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 17 of 24



“relatively brief encounter” and “the tolerable duration . . . in the traffic-stop context is

determined by the seizure’s ‘mission’—to address the traffic violation that warranted the stop . . .

and attend to related safety concerns.” Rodriguez, 135 S. Ct. at 1614 (citations omitted). While

a police officer “may conduct certain unrelated checks during an otherwise lawful traffic stop . . .

he may not do so in a way that prolongs the stop, absent the reasonable suspicion ordinarily

demanded to justify detaining an individual.” Id. at 1615 (explaining that a K-9 search is “not

fairly characterized as part of the officer’s traffic mission” because it is a measure aimed at

detecting evidence of criminal wrongdoing and lacks a close connection to roadway safety). Put

another way, an officer unlawfully prolongs a stop when he “(1) conduct[s] an unrelated inquiry

aimed at investigating other crimes (2) that adds time to the stop (3) without reasonable

suspicion.” Campbell, 912 F.3d at 1353.

               1.      Whether Defendant Prolonged the Traffic Stop

       Plaintiffs argue that Defendant extended the stop’s duration to investigate criminal

activity unrelated to the stop by doing the following: after receiving Plaintiffs’ driver’s licenses

and the car’s registration, Defendant did not immediately return to his car to verify the

information but instead attempted to search the vehicle; even though he claimed that he had

stopped the car for a tag violation, once he returned to his vehicle, Defendant called for K-9 units

prior to verifying the tag information; and, after the service was unable to verify Mr. Scruggs’

Tennessee license, Defendant spent over twenty minutes talking with other officers instead of

diligently filling out the citation form. (Doc. 26-1, pp. 24–27.) Defendant disagrees, and claims

he was conducting permissible “ordinary inquiries” and was completing the citation form at all




                                                17
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 18 of 24



times prior to the end of the stop. (Doc. 53, pp. 19–20.) Defendant also points to the fact that

the citation was not complete until after the K-9 had completed the search. 7 (Id. at p. 23.)

        “Authority for [a] seizure [for a traffic violation] ends when tasks tied to the traffic

infraction are—or reasonably should have been—completed.” Rodriguez, 135 S. Ct. at 1611.

“[A] traffic stop prolonged beyond that point is unlawful.” Id. at 1616. Thus, a stop can be

unlawfully prolonged even if done expeditiously. Campbell, 912 F.3d at 1352. An officer may

“conduct certain unrelated checks during an otherwise lawful traffic stop,” as long as such

activities—like a K-9 sniff—do not “measurably extend” the duration of the stop. Rodriguez,

135 S. Ct. at 1614–15.

        The undisputed facts demonstrate both that Defendant conducted several unrelated

inquiries aimed at investigating other crimes and that these acts added time to the stop. See

Rodriguez, 135 S. Ct. at 1616 (investigation into “crime in general [and] drug trafficking in

particular” not related to traffic stop); Campbell, 912 F.3d at 1355–56 (questions about

contraband in vehicle during traffic stop unrelated to stop’s mission). Prior to addressing the

original reason for his stop—a suspected tag violation—Defendant asked whether Plaintiffs had

any drugs in their vehicle and asked to search the Avalanche. (Doc. 28-1, at 14:20:48–14:21:15.)

This detour added about thirty seconds.            Defendant also spent about four minutes calling
7
   Defendant urges that, as a matter of law, the stop was not prolonged because the K-9 search was
completed before he had finished writing the citation. (Doc. 37-1, p. 23.) This argument misstates the
law. The United States Supreme Court has held that it “is not whether the dog sniff occurs before or after
the officer issues a ticket, . . . but whether conducting the sniff ‘prolongs’—i.e., adds time to—‘the stop.’”
Rodriguez, 135 S. Ct. at 1616. Additionally, it is possible for an officer to take an unreasonable amount
of time simply in addressing the traffic stop’s mission. Id. at 1614; see also United States v. Wilson, 662
F. App’x 693, 696 (11th Cir. 2016) (“[A] traffic stop becomes unlawful if it is prolonged beyond the time
reasonably required to complete the mission.”) (citations omitted). Thus, the mere completion of the K-9
search prior to the citation’s completion is not determinative of the stop’s legality; if Defendant acted in
such a way to ensure the citation was not complete before the K-9 unit could search Plaintiffs’ car, this
behavior would support a finding that the K-9 search added time to the stop. See Rodriguez, 135 S. Ct. at
1616; Campbell, 912 F.3d at 1353 n.14 (“Of course, [an] officer could be so slow as to warrant a claim
that the officer was not diligent.”) (citing id.).



                                                     18
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 19 of 24



dispatch to summon a K-9 unit prior to addressing either the tag or license concerns. (Id. at

14:21:58–14:25:40.) It is well-established that a dog sniff “is not an ordinary incident of a traffic

stop.” Rodriguez, 135 S. Ct. at 1616. Further, after Officer Clark arrived, Defendant stated he

was trying to determine Mr. Scruggs’ probation status to “conduct a Fourth Amendment search

on him,” (id. at 14:30–14:31:30), an inquiry that took approximately seven minutes and thirty

seconds, (id. at 14:30–14:37:35). While an officer is entitled to check criminal records or for

outstanding warrants as a “negligibly burdensome precaution[] in order to complete his mission

safely,” id. at 1616, Defendant’s explicit statement in the BCR discloses that his concern was not

his own safety but potential criminal activity unrelated to the traffic stop.

       The foregoing undisputed evidence indicates that, when all of Defendant’s delays are

added together, Defendant prolonged the traffic stop for the purpose of conducting unrelated

inquiries aimed at investigating other crimes.

               2.      Whether Defendant had Reasonable Suspicion to Prolong the Stop

       Having determined that Defendant prolonged the traffic stop to conduct unrelated

activities, the Court must determine whether he had reasonable suspicion that justified his doing

so. See Campbell, 912 F.3d at 1353.

       To have reasonable suspicion, an officer must “have a reasonable, articulable suspicion

based on objective facts that the person has engaged in, or is about to engage in, criminal

activity.” United States v. Powell, 222 F.3d 913, 917 (11th Cir. 2000). “The ‘reasonable

suspicion’ must be more than ‘an inchoate and unparticularized suspicion or hunch.’”              Id.

(quoting Terry v. Ohio, 392 U.S. 1, 27 (1968)).          The Court looks to the “‘totality of the

circumstances’” to determine whether an officer had ‘“a particularized and objective basis for




                                                  19
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 20 of 24



suspecting legal wrongdoing.’” United States v. Lindsey, 482 F.3d 1285, 1290 (11th Cir. 2007)

(quoting United States v. Arvizu, 534 U.S. 266, 122 S. Ct. 744, 750 (2002)).

       To support his argument that he had reasonable suspicion which justified any actions

taken during the traffic stop, Defendant points to the tip from his informant, the Avalanche’s

presence at a location previously associated with drug activity, and Plaintiffs’ evasive driving.

(Doc. 53, pp. 10–11.) Defendant contends that these circumstances render any delay whilst

waiting for the K-9 legally permissible. (Id.) In response, Plaintiffs point to the BCR and argue

that, because the evidence shows that Defendant was not conducting surveillance at 330

Broadway Street, did not have an informant, and stopped Plaintiffs under the guise of a tag

violation, there is no basis for a finding that he had a reasonable suspicion that Plaintiffs were

involved in illegal drug activity. (Doc. 26-1, pp. 24–27.)

       As described previously herein, there is sufficient evidence to support each of the

competing versions of the events leading up to the stop of Plaintiffs’ vehicle. Under one set of

facts, Defendant was conducting surveillance based on the informant’s tip that drugs were being

sold at 330 Broadway Street (where Defendant had knowledge of prior drug activities and arrests

having taken place), Defendant observed the Avalanche at 330 Broadway Street, mistakenly

believed that the Avalanche bore another vehicle’s license plate, and witnessed Plaintiffs driving

the Avalanche in what he believed to be an evasive manner. Under the other set of facts—

Defendant’s statements recorded in the BCR—Defendant had no basis for suspecting the

Avalanche and its occupants were involved in anything more than mere traffic violations, if that.

Given the extreme divergence between the two sets of facts, there is no way the Court can say

that, as a matter of law, Defendant did or did not have a reasonable suspicion of criminal activity




                                                20
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 21 of 24



that justified any prolongation of the stop. Thus, the Court declines to grant summary judgment

to either party on this issue.

         C.     Qualified Immunity

         Finally, in his Motion for Summary Judgment, Defendant contends that because the facts

demonstrate he had reasonable suspicion to initiate a traffic stop, he is entitled to qualified

immunity on Plaintiffs’ § 1983 claim. (Doc. 37-1, p. 29.) Defendant is the sole movant on this

issue. Qualified immunity shields “government officials performing discretionary functions . . .

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982); see also Lee v. Ferraro, 284 F.3d 1188, 1193–94 (11th Cir.

2002).

         To receive qualified immunity, government officials must first establish that they were

acting within their discretionary authority during the events in question. Maddox v. Stephens,

727 F.3d 1109, 1120 (11th Cir. 2013).          Discretionary authority includes all actions of a

governmental official that “(1) were undertaken pursuant to the performance of his duties, and

(2) were within the scope of his authority.” Dang ex rel. Dang v. Sheriff, Seminole Cty., 871

F.3d 1272, 1279 (11th Cir. 2017) (quoting Rich v. Dollar, 841 F.2d 1558, 1564 (11th Cir. 1988)).

Here, Plaintiff does not contest this issue, and it appears that Defendant was acting within his

discretionary authority.    Defendant, a narcotics investigator for Glynn County, pulled over

Plaintiffs pursuant to his authority to address violations of the law.

         Once a defendant establishes that he was acting within the scope of his discretionary

authority, “the burden shifts to the plaintiff to show that qualified immunity is not appropriate.”

Dang, 871 F.3d at 1279 (quoting Lee, 284 F.3d at 1194). To make this showing, a plaintiff




                                                  21
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 22 of 24



“must first prove that the facts alleged, construed in the light most favorable to [them], establish

that a constitutional violation did occur.” Shaw v. City of Selma, 884 F.3d 1093, 1099 (11th Cir.

2018) (citing Smith v. LePage, 834 F.3d 1285, 1291 (11th Cir. 2016)); see also Saucier v. Katz,

533 U.S. 194, 200 (2001). A plaintiff must also show that the law existing at the time the

conduct occurred clearly established that the conduct violated the Constitution. Pearson v.

Callahan, 555 U.S. 223, 232–36, (2009).

        As laid out above, the facts, when construed in the light most favorable to Plaintiffs,

establish that Defendant violated the Fourth Amendment by unlawfully prolonging the traffic

stop to investigate other crimes without reasonable suspicion. While a defendant who asserts

qualified immunity only needs evidence to support a finding of “arguable” reasonable suspicion,

the Court’s conclusion remains the same. Jackson v. Sauls, 206 F.3d 1156, 1166 (11th Cir.

2000) (“When an officer asserts qualified immunity, the issue is not whether reasonable

suspicion existed in fact, but whether the officer had arguable reasonable suspicion to support an

investigatory stop.” (internal quotation marks omitted)). Viewing the evidence in the light most

favorable to Plaintiffs, Defendant cannot rely on any of the circumstances he claims show he had

reasonable suspicion. Without any circumstances to create “a particularized and objective basis

for suspecting” that Plaintiffs were engaged in drug-related activity, Defendant lacked even

arguable reasonable suspicion to prolong the stop. 8

        Having alleged a constitutional violation, Plaintiffs must demonstrate “that law existing

at the time . . . clearly established that the conduct violated the constitution.” Shaw, 884 F.3d at



8
  Despite this finding, the Court stresses that this analysis is based purely on the facts taken in the light
most favorable to Plaintiffs, and a jury could choose to believe Defendant’s version of the facts, which
could possibly establish arguable reasonable suspicion.




                                                     22
    Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 23 of 24



1099 (citing Pearson, 555 U.S. at 232–36). 9 Here, Plaintiffs argue that “[a] reasonable police

officer [] working in 2017 [at the time of the traffic stop] had fair warning of Supreme Court

precedents recognizing the inherent rights of individuals, under the Fourth Amendment,[] to be

free from [(i)] stops unsupported by objective reasonable suspicion; and (ii) stops exceeding the

time necessary to complete the mission which justified the stop.” (Doc. 45, p. 15.) The Court

agrees; the at-issue traffic stop occurred in early 2017, long after most of the law cited

throughout this Order was decided. Thus, it was clearly established at the time of the alleged

constitutional violation that a traffic stop lasting longer than the time necessary to process the

traffic violation without reasonable, articulable suspicion of other illegal activity violates the

Fourth Amendment. See, e.g., Rodriguez, 135 S. Ct. at 1614–1616 (holding, in 2015, that a

traffic stop prolonged beyond the amount of time reasonably required to complete the mission is

unlawful); Wilson, 662 F. App’x at 696 (holding, in 2016, that a dog sniff that takes place during

the reasonable course of a lawful traffic stop is not subject to Fourth Amendment scrutiny);

Lindsey, 482 F.3d at 1290 (explaining, in 2007, that courts look to the totality of the

circumstances to address reasonable suspicion); Powell, 222 F.3d at 917 (holding, in 2000, that

the reasonable suspicion that is required for investigatory stop must be more than inchoate and

unparticularized suspicion or hunch and a detaining officer must have minimal level of objective

justification taken from totality of circumstances). Accordingly, the facts of this case, taken in

the light most favorable to Plaintiffs, indicate that Defendant violated Plaintiffs’ clearly

established Fourth Amendment right to be free from unreasonable seizures.

        In light of the foregoing, Defendant George is not entitled to qualified immunity and the

Court denies his Motion on this issue. (Doc. 37.)

9
   Courts may “exercise their sound discretion in deciding” what order to analyze the constitutional
violation and clearly established right prongs. Pearson, 555 U.S. at 236.



                                                23
 Case 2:17-cv-00126-RSB-BWC Document 61 Filed 03/08/19 Page 24 of 24



                                   CONCLUSION

      For the reasons set forth above, the Court DENIES Plaintiffs’ Motion for Summary

Judgment and Request for Oral Argument, (doc. 26), and DENIES Defendant’s Motion for

Summary Judgment, (doc. 37).

      SO ORDERED, this 8th day of March, 2019.




                                R. STAN BAKER
                                UNITED STATES DISTRICT JUDGE
                                SOUTHERN DISTRICT OF GEORGIA




                                         24
